This is a companion case to the case of C.I. Carey and C. Frank Harrison v. Town of Gulfport and B.T. Sauls, decided this date. The record and the briefs have been examined and the questions to be decided found to be the same as those adjudicated in the latter case. The judgment below is accordingly affirmed but with same directions and limitations as were contained in the order of affirmance in C.I. Carey and C. Frank Harrison v. Town of Gulfport and B.T. Sauls. Costs will be imposed on appellee, Town of Gulfport.
WHITFIELD, P. J., and BROWN and CHAPMAN, J. J., concur.
TERRELL, C. J., concurs in opinion and judgment.
Justices BUFORD and THOMAS not participating as authorized by Section 4687, Compiled General Laws of 1927, and Rule 21-A of the Rules of this Court. *Page 48 